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11
                                      UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

14
     BROOKE OXENDINE and MICHAEL                       Case No. 4:24-cv-02168-JST
15   OXENDINE,
                                                       NOTICE OF VOLUNTARY
16                      Plaintiffs,                    DISMISSAL WITHOUT PREJUDICE
17   v.

18   THE COOPER COMPANIES, INC.;
     COOPERSURGICAL, INC.; and DOES 1-
19   10, inclusive,

20                      Defendants.

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23          Plaintiffs BROOKE OXENDINE and MICHAEL OXENDINE hereby give notice of the

24   voluntary dismissal of their action as to all defendants, without prejudice, pursuant to Fed. R. Civ.

25   P. 41(a)(1)(A)(i), no defendants having served an answer or a motion for summary judgement.

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                                                                 NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
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 1
     Dated: December 17, 2024       Respectfully submitted,
 2
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                                                         NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
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